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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

In re CASSAVA SCIENCES, INC.                   §
SECURITIES LITIGATION                          § Master File No. 1:21-cv-00751-DAE
                                               §
                                               § CLASS ACTION
This Document Relates To:                      §
                                               §
         ALL ACTIONS                           §
                                               §
                                               §


  ORDER GRANTING AGREED MOTION REGARDING EXTENSION OF TIME TO
      FILE A RULE 12(f) MOTION REGARDING DEFENDANTS’ ANSWER


 This Court, having considered the Agreed Motion Regarding Extension of Time to File a Rule 12(f) Motion

 Regarding Defendants’ Answer, hereby GRANTS the motion and ORDERS the following:

 Lead Plaintiff Mohammad Bozorgi and additional plaintiffs Ken Calderone and Manohar

 Rao (“Plaintiffs”) deadline to respond to Defendants’ Answer is extended to January 31, 2024.



             IT IS SO ORDERED.

 DATED: Austin, Texas, January 3, 2024


                                                 ____________________________________
                                                 DAVID ALAN EZRA
                                                 SENIOR UNITED STATES DISTRICT JUDGE




4869-6392-3353.v2
